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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

NETLIST, INC.,                         )
                                       )
            Plaintiff,                 )
                                       )   Case No. 2:22-cv-293-JRG
      vs.                              )
                                       )   JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;           )   (Lead Case)
SAMSUNG ELECTRONICS AMERICA,           )
INC.; SAMSUNG SEMICONDUCTOR            )
INC.,                                  )
                                       )
            Defendants.                )

NETLIST, INC.,                         )
                                       )
            Plaintiff,                 )
                                       )
                                           Case No. 2:22-cv-294-JRG
      vs.                              )
                                       )
                                           JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.;               )
MICRON SEMICONDUCTOR                   )
PRODUCTS, INC.; MICRON                 )
TECHNOLOGY TEXAS LLC,                  )
                                       )
            Defendants.                )

      NETLIST, INC.’S MOTION TO EXPEDITE BRIEFING ON NETLIST’S
        MOTION FOR RELIEF FROM PROTECTIVE ORDER (DKT. 553)
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        Pursuant to Local Rule CV-7(e), Plaintiff Netlist Inc. (“Netlist”) respectfully files this motion

to expedite briefing on Netlist’s Motion for Relief from the Protective Order filed on February 14,

2023. Dkt. 553 (the “Motion”). Netlist requests that Samsung’s response be due on Tuesday, February

20, 2023.

        Netlist’s Motion asked Samsung to agree to a narrow modification of the Protective Order so

that Netlist can present certain portions of testimony given by Samsung’s corporate representative in

this action to Judge Scarsi in connection with co-pending litigation between the parties in the Central

District of California (the “CDCA Case”) of the JDLA. Dkt. 553 at 1. Specifically, Netlist intends to

request that the testimony of Samsung’s corporate representative be admitted in an upcoming jury

trial in CDCA, but it cannot show the testimony to Judge Scarsi because Samsung designated it as

confidential under the Protective Order. Dtk. 553 at 1-4. Thus, Netlist seeks a narrow modification

of the Protective Order that would simply allow Judge Scarsi to evaluate the testimony and consider

whether it should be admitted.

         An expedited briefing schedule is necessary in light of the current schedule of the CDCA

Case. At the summary judgment hearing on February 5, 2024, trial was scheduled in CDCA for March

26, 2024, with the first round of pre-trial briefing due on February 26, 2024. Netlist Inc. v. Samsung Elecs.

Co., Ltd., 8:20-cv-00993-MCS-ADS (C.D. Cal., Feb. 6, 2024), Dkt. 390. Judge Scarsi heard argument

about the admission of the Samsung testimony at issue here at the upcoming CDCA trial, and

requested that Netlist address the protective order in this Court first, which Netlist has worked to do.

Dkt. 553 at 3-4. Netlist promptly sent Samsung a draft of its proposed motion for relief from the

protective order on February 9, 2024. Dkt. 553 at 4. Because of the lunar new year holiday in Korea

and the schedules of lead counsel, the parties were not able to have a lead-to-lead meet and confer

until February 14, 2024 during which Samsung refused to agree to a narrow modification of the

Protective Order. Netlist reached out to Samsung and asked whether Samsung would oppose this


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present motion to expedite, but received no response. Because time is of the essence, Netlist requests

that Samsung’s response to Netlist’s Motion for Relief from the Protective Order (Dkt. 553, filed on

February 14, 2023) be due on Tuesday, February 20, 2023.


Dated: February 15, 2024                         Respectfully submitted,

                                                 /s/ Jason Sheasby

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on February 15, 2024 a copy of the foregoing was served to all counsel

of record.

                                                     /s/ Jason Sheasby
                                                     Jason Sheasby

                             CERTIFICATE OF CONFERENCE

       I hereby certify that Netlist asked Samsung whether it would agree to an expedited briefing

schedule, but received no response.

                                                     /s/ Jason Sheasby
                                                     Jason Sheasby




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